                CaseCase 22-629, Document
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                                                             03/29/22    of 1 of 1N.Y.S.D. Case #
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                                                                                  17-cv-4853(JSR)


                                UNITED STATES COURT OF APPEALS
                                           FOR THE
                                        SECOND CIRCUIT

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      29th day of March, two thousand twenty-two.

      ________________________________

       In Re: Sarah Palin
       ---------------------------                        ORDER
                                                                                                       Mar 29 2022
       Sarah Palin,                                       Docket No. 22-629

                      Petitioner,

       v.

       The New York Times Company, James
       Bennett,

                 Respondents.
       ________________________________

              Petitioner Sarah Palin has filed a petition for a writ of mandamus. Petitioner has also filed
      a post-trial motion in the district court which may impact this petition. Upon consideration
      thereof,

              IT IS HEREBY ORDERED that this petition is held in abeyance pending the district
      court’s resolution of Petitioner’s post-trial motion. Petitioner is directed to inform this Court in
      writing of the status of the motion in 30-day intervals, beginning 30 days from the date of this
      order.


                                                             For the Court:

                                                             Catherine O’Hagan Wolfe,
                                                             Clerk of Court




CERTIFIED COPY ISSUED ON 03-29-2022
